             Case 5:16-cv-05051-JLV Document 108-1 Filed 01/06/20 Page 1 of 3 PageID #: 1844

                                           PRAETORIAN INSURANCE COMPANY                                      WC 99 09 02

                                                       INFORMATION PAGE

Insurer: PRAETORIAN INSURSJ^CE COMPANY                                        Policy NO.: CWC3967781
               WALL STREET PLAZA                                              Renewal of Number: CWC3967781
               88 PINE ST
               NEW YORK NY 10005

NCCI Carrier Code: 21172
1. The Insured: MENARD INC

    For Additional Named Insureds, see Extension of Information Page,
    Schedule of Named Insured, if applicable.
    Mailing Address:                                                           Entity: OTHER OR MULTIPLE TYPES
                       5101 MENARD DRIVE
                       EAU CLAIRE, WI 54703
                                                                               Interstate Risk ID No.: 919999999

    Other workplaces not shown above: For Additional Locations, See Extension of Information Page,
    Schedule of Locations, if applicable.
2. The policy period is from 11/01/13 at 12:01 A.M. to 11/01/14 at 12:01 A.M. standard time at the insured's mailing address.

3. A. Workers Compensation Insurance : Part One of the policy applies to the Workers Compensation Law of
              the states listed here:
               IL IN IA KS KY MI MN MO ME SD



     B. Employers Liability Insurance: Part Two of the policy applies to work in each state listed in Item 3A.
             The limits of our liability under Part Two are:

                        Bodily Injury by Accident $ 1,000,000                 each accident
                        Bodily Injury by Disease $ 1,000,000                  policy limit
                        Bodily Injury by Disease $ 1,000,000                  each employee
     C. Other States Insurance: Part Three of the policy applies to the states, if any, listed here:

              All states and U.S. territories except North Dakota, Ohio, Washington, Wyoming, Puerto Rico,
              the U.S. Virgin Islands, and states designated in item 3.A. of the Information Page.

     D. This policy includes these endorsements and schedules:
          See Extension of Information Page, Schedule of Forms

4. The premium for this policy will be determined by our Manual of Rules, Classifications, Rates and Rating Plans.
     All information required below is subject to verification and change by audit.
        Classifications           Code                Premium Basis              Rate Per           Estimated
                                   No.                Estimated Annual           $100 of             Annual
                                                       Remuneration           Remuneration          Premium

                   See Extension of Information Page, Classifications and Premium Breakdown
                                                   Total Estimated Cost $: 1,568,361.76

        Responsible Agent of Record: (312) 381-1000                      Servicing Agency (312) 381-1000
        AON05                                                            AON05
        AON RISK SERVICES, INC                                           AON RISK SERVICES, INC
        200 E RANDOLPH ST                                                200 E RANDOLPH ST
        12 TH FLOOR                                                      12 TH FLOOR
        CHICAGO, IL 60601                                                CHICAGO, IL 60601

                                                                                                       EXHIBIT E
        Countersigned By                                                 Date 11/20/13
                                                                                                                wcw30200.prr
ircwSOSOa-                                                                                                      wcw9020a.prj'
       Case 5:16-cv-05051-JLV Document 108-1 Filed 01/06/20 Page 2 of 3 PageID #: 1845
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        WC 40 06 03
                                                                                                                         (Ed. 1-94)

                                        SOUTH DAKOTA MANAGED CARE ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because South Dakota is shown in Item 3.A. of
the Information Page.

This endorsement provides for the payment of benefits under the workers compensation law of South Dakota to
provide medical services and health care to injured workers for compensable injuries and diseases by means of a
managed care program which meets the requirements established by the Department of Labor.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

     fThe information below is required only when this endorsement is issued subsequent to preparation of the policy.)

  Endorsement                                             Effective Policy No.              Endorsement No.
  Insured                                                                                          Premium

  Insurance Company                                       Countersigned by_




 WC 40 06 03
 (Ed. 1-94)


                                                                                        CWC3967781 20131101 000
0 1995 National Council on Compensation Insurance, Inc.
       Case 5:16-cv-05051-JLV Document 108-1 Filed 01/06/20 Page 3 of 3 PageID #: 1846
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                                      WC 0000 00 B
                                                                                                                                         (Ed. 7-11)

                        WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

In return for the payment of the premium and subject to                                                   PART ONE
all terms of this policy, we agree with you as follows:                                         WORKERS COMPENSATION INSURANCE

                                                                                            A. How This Insurance Applies
                         GENERAL SECTION                                                       This workers compensation insurance applies to
                                                                                               bodily injury by accident or bodily injury by disease.
 A. The Policy                                                                                 Bodily injury includes resulting death.
      This policy includes at its effective date the Infor-                                    1. Bodily injury by accident must occur during the
      mation Page and all endorsements and schedules                                               policy period.
      listed there. It is a contract of insurance between                                      2. Bodily injury by disease must be caused or ag-
     you (the employer named in Item 1 of the Informa-                                             gravated by ihe conditions of your employment.
     lion Page) and us (the insurer named on the tnfor-                                            The employee's last day of last exposure to the
      mation Page). The only agreements relating lo this                                           conditions causing or aggravating such bodily in-
      insurance are stated in this policy. The terms of this                                       jury by disease must occur during the policy pe-
      policy may not be changed or waived except by                                                riod.
      endorsement issued by us to be part of this policy.
                                                                                           B. We Will Pay
 B. Who Is Insured
                                                                                               We will pay promptly when due the benefits required
      You are insured if you are an employer named in                                          of you by the workers compensation law.
      Item 1 of the Information Page. If that employer is a
      partnership, and if you are one of its partners, you                                 C. We Will Defend
      are insured, but only in your capacity as an em-
      player of the partnership's employees.                                                  We have the right and duty to defend at our expense
                                                                                              any claim, proceeding or suit against you for benefits
                                                                                              payable by this insurance. We have the right to in-
 C. Workers Compensation Law                                                                  vestigate and settle these claims, proceedings or
     Workers Compensation Law means the workers or                                            suits.
    workmen's compensation law and occupational                                               We have no duty to defend a claim, proceeding or
    disease law of each state or territory named in Item                                      suit that is not covered by this insurance.
    3.A. of the Information Page. It includes any
    amendments to that law which are in effect during
    the policy period. It does not include any federal
                                                                                           D. We Will Also Pay
    workers or workmen's compensation law, any fed-                                           We will also pay these costs, in addition to other
    era! occupalional disease law or the provisions of                                        amounts payable under this insurance, as part of
    any law that provide nonoccupational disability                                           any claim, proceeding or suit we defend:
     benetits.                                                                                1. reasonable expenses incurred at our request,
                                                                                                    but not loss of earnings;
D. State                                                                                      2. premiums for bonds to release attachments and
     State means any state of the United States of                                                 for appeal bonds in bond amounts up to the
     America, and the District of Columbia.                                                         amount payable under this insurance;
                                                                                              3. litigation costs taxed against you;
 E. Locations                                                                                 4. interest on a judgment as required by law until
     This policy covers alt of your workplaces listed in                                          we offer the amount due under this insurance;
     Items 1 or 4 of the Information Page; and it covers                                          and
     all other workplaces in Item 3.A. states unless you                                      5. expenses we incur.
     have other insurance or are self-insured for such
     workplaces.                                                                           E. Other Insurance
                                                                                              We will not pay more than our share of benefits and
                                                                                              costs covered by this insurance and other




                                                                                    1 of 6
                                                                                                                 CWC3967781 20131101 000
<g) Copyright 2010 National Council on Compensation lnsuranc&. Inc. All Rights Reserved.
